   Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                         Franco, Yansi                             )
                                                                   )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                      Civil Action No. 4:24-cv-10070
                                                                   )
               Papa John’s International, Inc.                     )
                  Papa John’s USA, Inc.
                                                                   )
               Krueger Pizza Marathon, LLC
                Paradise Islands Pizza, Inc.                       )
                                                                   )
                           Defendant(s)                            )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Papa John’s USA, Inc.
                                       c/o CT Corporation System
                                       334 N Senate Ave
                                       Indianapolis, IN 46204




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Coane and Associates, PLLC
                                       1250 Hallandale Beach Blvd Suite PH2
                                       Hallandale Beach, FL 33009




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
    Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:24-cv-10070

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                         Franco, Yansi                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 4:24-cv-10070
                                                                 )
               Papa John’s International, Inc.                   )
                  Papa John’s USA, Inc.
                                                                 )
               Krueger Pizza Marathon, LLC
                Paradise Islands Pizza, Inc.                     )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Krueger Pizza Marathon, LLC
                                       c/o Ashley Krueger
                                       5105 OVERSEAS HWY
                                       MARATHON, FL 33050




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Coane and Associates, PLLC
                                       1250 Hallandale Beach Blvd Suite PH2
                                       Hallandale Beach, FL 33009




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
    Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

                         Franco, Yansi                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 4:24-cv-10070
                                                                 )
               Papa John’s International, Inc.                   )
                  Papa John’s USA, Inc.
                                                                 )
               Krueger Pizza Marathon, LLC
                Paradise Islands Pizza, Inc.                     )
                                                                 )
                           Defendant(s)                          )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Paradise Islands Pizza, Inc d/b/a Papa John’s Pizza
                                       c/o Keith Krueger
                                       392 Beverly Court
                                       Suite A
                                       Spring Hill, FL 34606




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Coane and Associates, PLLC
                                       1250 Hallandale Beach Blvd Suite PH2
                                       Hallandale Beach, FL 33009




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                      Signature of Clerk or Deputy Clerk
    Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
   Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                         Franco, Yansi                           )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 4:24-cv-10070
                                                                 )
               Papa John’s International, Inc.                   )
                  Papa John’s USA, Inc.
                                                                 )
               Krueger Pizza Marathon, LLC
                Paradise Islands Pizza, Inc.                     )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Papa John’s International, Inc.
                                       c/o The Corporation Trust Company
                                       1209 Orange Street
                                       Wilmington, DE 19801




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Coane and Associates, PLLC
                                       1250 Hallandale Beach Blvd Suite PH2
                                       Hallandale Beach, FL 33009




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:
                                                                                     Signature of Clerk or Deputy Clerk
    Case 4:24-cv-10071-XXXX Document 1-1 Entered on FLSD Docket 09/09/2024 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 4:24-cv-10070

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
